
In re Thompson, Tommy; — Plaintiffs); applying for supervisory and/or remedial writ; to the Court of Appeal, First Circuit, No. KW98 1968; Parish of East Baton Rouge, 19th Judicial District Court, Div. “K”, Nos. 1-77-197, 6-81-101.
Relator represents that the district court has failed to act timely on a motion for concurrent sentences he filed on or about January 22, 1998. If relator’s representation is correct, the district court is ordered to consider and act on the motion. If relator’s representation is incorrect, the district court is ordered to accept, file, and act upon the pleading which is herewith transferred to the district court. The district court is ordered to provide this Court with a copy of its judgment.
CALOGERO, C.J., not on panel.
